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FoR THE wEsTERN DISTRICT oF TENNESSEE `“`~'--~~»»l
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UNITED STATES oF AMERICA i""l"i:/`“>CFUS D§[TJ`UL“
' " "J!!" TN_JA ' 07
- CKSON
vs Criminal No. 1:05-10006~Ol-T

MICHAEL DEON CARR

AMENDED ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

 

 

The order entered in the above matter on May 4, 2005, is hereby
amended to correct the defendant's name to Michael Deon Carr. The
following information will remain the same.

Upon motion of counsel for defendant the trial date of May 11,
2005, is continued to allow counsel for the defendant additional
time in which to prepare. The ends of justice served by taking such
action outweigh the best interest of the public and the defendant in
a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
MONDAYl MAY 9l 2005 at 9:15 A.M. and reset TRIAL DATE for
THURSDAYl JUNE 30l 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
May 11, 2005, to June 30, 2005, as excludable delay under

Title 18 U.S.C.§3161(h)(8)(B)(iv) and(h)(B)(A}.

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JAM# S D. TODD
UNITED STATES DISTRICT JUDGE

DATE= €/71¢3 90'05

IT IS SO ORDERED.

DISTRIC COURT - WE TRNE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:05-CR-10006 Was distributed by faX, mail, or direct printing on
May ]0, 2005 to the parties listed.

 

 

David W. Camp

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Honorable J ames Todd
US DISTRICT COURT

